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               UNITED STATES DISTRICT COURT
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               SOUTHERN DISTRICT OF GEORGIA
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                      SAVANNAH DIVISION                           SC. L; FT ci


EASHATJD JOHNSON,

     Movant,

                                       Case No,   CV410-256
                                                  CR408-3 15
UNITED STATES OF AMERICA,

     Respondent.

                              ORDER

     After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to

which objections have been filed. Accordingly, the Report and

Recommendation of the Magistrate Judge is adopted as the opinion of the

Court.

     SO ORDERED this             day of                 , 2011.



                           WILLIAM T. MOORE, JR.
                           UNITED STATES DISTRICT JUDGE
                           SOUTHERN DISTRICT OF GEORGIA
